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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 UNITED STATES OF AMERICA


     V.

                                                       l:18-cr-410(LMB)
 SEITU SULAYMAN KOKAYI,

           Defendant.



                                 MEMORANDUM OPINION


          Defendant Seitu Sulayman Kokayi("Kokayi") was charged with two counts of coercion

and enticement of ajuvenile to engage in unlawful sexual activity in violation of 18 U.S.C.

§ 2422(b)and one count oftransfer of obscene materials to a minor in violation of 18 U.S.C.

§ 1470 [Dkt. No. 29] after the Federal Bureau ofInvestigation("FBI") became aware that he was

having sexual conversations with a female minor via text messaging and FaceTime.

          On November 9,2018, pursuant to 50 U.S.C. §§ 1806(c) and 1825(d), the government

provided notice to Kokayi and the Court that it "intends to offer into evidence, or otherwise use

or disclose in any proceedings in [this case], information obtained or derived from electronic

surveillance and physical searches conducted pursuant to the Foreign Intelligence Surveillance

Act of 1978(TISA'), as amended,50 U.S.C. §§ 1801-1812 and 1821-1829." Dkt. No. 33. The

imderlying FISA applications and orders are classified. On December 17,2018, without having

been able to see the relevant FISA applications, defendant filed a Motion to Suppress Electronic

Surveillance Obtained Without a Warrant and Without a Finding ofProbable Cause of Criminal

Conduct, and for Disclosure ofthe FISA Applications to Defense [Dkt. No.43]("Def. Mem.").

Defendant argues that the underlying FISA applications and other materials should be disclosed

to defense counsel so that counsel can provide effective assistance, emphasizing that the relevant
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